
65 So.3d 597 (2011)
Antonio HERNANDEZ, Appellant,
v.
STATE of Florida, Appellee.
No. 4D10-2387.
District Court of Appeal of Florida, Fourth District.
July 13, 2011.
Carey Haughwout, Public Defender, and Nan Ellen Foley, Assistant Public Defender, West Palm Beach, for appellant.
No appearance for appellee.
PER CURIAM.
We affirm the order revoking appellant's probation and imposing sentence, but we remand for entry of a written order of revocation of probation specifying the condition(s) appellant was found to have violated. See Petrie v. State, 980 So.2d 1209 (Fla. 4th DCA 2008).
WARNER, POLEN and LEVINE, JJ., concur.
